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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                            )
In re                                                       )     Chapter 7
                                                            )
TOUGH MUDDER INC., et al., 1                                )     Case No. 20-10036 (CSS)
                                                            )
                       Debtors.                             )     Jointly Administered
                                                            )
                                                            )     Objection Deadline:
                                                                  May 8, 2020, at 4:00 p.m. (EDT)
                                                            )
                                                            )     Hearing Date:
                                                            )     May 27, 2020, at 3:00 p.m. (EDT)
                                                            )
                                                            )     RE: D.I. 162
                                                            )
     REVISED NOTICE OF HEARING REGARDING THE SECOND MONTHLY
       (FOR THE PERIOD MARCH 1, 2020, THROUGH MARCH 25, 2020) AND
    FINAL APPLICATION OF MORRIS, NICHOLS, ARSHT & TUNNELL LLP, AS
         COUNSEL TO THE CHAPTER 11 TRUSTEE, FOR ALLOWANCE OF
         COMPENSATION AND REIMBURSEMENT OF ALL ACTUAL AND
    NECESSARY EXPENSES INCURRED FOR THE PERIOD JANUARY 30, 2020,
                 THROUGH AND INCLUDING MARCH 25, 2020

               PLEASE TAKE NOTICE that on April 24, 2020, Morris, Nichols, Arsht &
Tunnell LLP, as counsel to Derek C. Abbott, Esq., former Chapter 11 Trustee (the “Trustee”) for
Tough Mudder Inc. (“Tough Mudder”) and Tough Mudder Event Production Inc. (“TM Events”
and, together with Tough Mudder, the “Debtors”) in the above-captioned cases, filed the Second
Monthly (for the Period March 1, 2020, Through March 25, 2020) and Final Application of
Morris, Nichols, Arsht & Tunnell LLP, as Counsel to the Chapter 11 Trustee, for
Allowance of Compensation and Reimbursement of All actual and Necessary Expenses
Incurred for the Period January 30, 2020, Through and Including March 25, 2020 [D.I.
162] (the “Application”) in the United States Bankruptcy Court for the District of Delaware (the
“Court”). You were previously served with a copy of the Application.

               PLEASE TAKE FURTHER NOTICE that objections, if any, to the Application,
must be: (a) in writing; (b) filed with the Clerk of the Bankruptcy Court, 824 Market Street, 3rd
Floor, Wilmington, Delaware 19801, on or before May 8, 2020, at 4:00 p.m. (EDT) (the
“Objection Deadline”); and (c) served so as to be received on or before the Objection Deadline
by:


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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845). The Debtors’
    address is 15 MetroTech Center, Brooklyn, NY 12201.
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          i.   counsel to the Trustee, Morris, Nichols, Arsht & Tunnel, LLP, 1201 N. Market
               Street, 16th Floor, Wilmington, Delaware 19899, Attn: Curtis S. Miller
               (cmiller@mnat.com), Matthew B. Harvey (mharvey@mnat.com), Joseph C.
               Barsalona     II   (jbarsalona@mnat.com),      and   Brett    S.   Turlington
               (bturlington@mnat.com);

        ii.    the Debtors’ 20 largest unsecured creditors on a consolidated basis;

        iii.   the Office of the United States Trustee, J. Caleb Boggs Federal Building, 844
               King Street, Suite 2207, Lockbox #35, Wilmington, Delaware 19801, Attn: Jane
               Leamy, Esq. (jane.m.leamy@usdoj.gov); and

        iv.    to the extent not listed herein, those parties requesting notice pursuant to Rule
               2002 of the Federal Rules of Bankruptcy Procedure.

          PLEASE TAKE FURTHER NOTICE THAT THE HEARING ON THE
APPLICATION WILL BE HELD ON MAY 27, 2020, at 3:00 P.M. (EDT) (THE
“HEARING”) BEFORE THE HONORABLE CHRISTOPHER S. SONTCHI, AT THE
UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824
MARKET STREET, 5TH FLOOR, COURTROOM #6, WILMINGTON, DELAWARE 19801.

               PLEASE TAKE FURTHER NOTICE that only objections made in writing and
timely filed and received, in accordance with the procedures above, will be considered by the
Court at the Hearing.

          IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE APPLICATION WITHOUT
FURTHER NOTICE OR HEARING.

 Dated: May 4, 2020                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP
 Wilmington, Delaware
                                      /s/ Brett S. Turlington
                                      Curtis S. Miller (No. 4583)
                                      Joseph C. Barsalona II (No. 6102)
                                      Brett S. Turlington (No. 6705)
                                      1201 N. Market Street, 16th Floor
                                      P.O. Box 1347
                                      Wilmington, Delaware 19899-1347
                                      Telephone: (302) 658-9200
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                                              jbarsalona@mnat.com
                                              bturlington@mnat.com

                                      Counsel for Derek C. Abbott, Esq., Former
                                      Chapter 11 Trustee to Tough Mudder Inc. and
                                      Tough Mudder Event Production Inc.


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